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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:05CR87
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
BRIAN L. WEBSTER,                             )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”). The parties

have adopted the PSR, yet they request the Court to honor the plea agreement reached

pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C). (Filing Nos. 73, 74.) See

"Order on Sentencing Schedule," ¶ 6.

       The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

       The plea agreement reached pursuant to Rule 11(c)(1)(C) requires, among other

things, a 140-month sentence with respect to Count I as a “reasonable” sentence based

on the drug quantity as well as the Defendant’s criminal history and role in the offense. The

PSR reflects a total offense level of 31, criminal history category VI, and a sentencing

guideline range of 188-235 months. The Court will discuss the plea agreement and the

PSR at the sentencing hearing.

       IT IS ORDERED:

       1.     The parties are notified that my tentative findings are that the PSR is correct;

       2.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel
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and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the

law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

       3.     Absent submission of the information required by paragraph 2 of this order,

my tentative findings may become final;

       4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 1st day of November, 2005.

                                                 BY THE COURT:

                                                 s/ Laurie Smith Camp
                                                 United States District Judge




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